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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

   THE STATE OF ARIZONA,
   By and through its Attorney General, Mark
   Brnovich, et al.,

                                        PLAINTIFFS,

   v.

   CENTERS FOR DISEASE CONTROL &                       CIVIL ACTION NO. 6:22-cv-00885-RRS-CBW
   PREVENTION; et al.,

                                      DEFENDANTS.


                                    Temporary Restraining Order

         The Court has considered Plaintiff States’ Motion to Extend Temporary Restraining Order,

  and IT IS HEREBY ORDERED granting the motion.

         IT IS FURTHER ORDERED that, for the same reasons stated in this Court’s Order of

  April 27, 2022, the Temporary Restraining Order in this case is extended until the earlier of (1) this

  Court’s decision on the Plaintiffs’ PI Motion, or (2) May 23, 2022.



                                                         __________________________________
                                                              ROBERT R. SUMMERHAYS
                                                           UNITED STATES DISTRICT JUDGE
